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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JOSHUA ROY MOSES,                              CIVIL ACTION
 Plaintiff,
                                                NO. 22-3385
       v.

 JAMIE SORBER et al.,
 Defendants.

                           ORDER RE: MOTION TO DISMISS

      AND NOW, this 14th day of July 2023, upon consideration of Defendants’ Motion to

Dismiss (ECF No. 28) and all submissions related thereto, for the reasons stated in the

accompanying memorandum, it is hereby ORDERED that:

      1) The motion is GRANTED with respect to Count II, which is DISMISSED without

            prejudice,

      2) The motion is DENIED with respect to Counts I, III, and IV, and

      3) Plaintiff will have leave to amend the complaint within thirty days (30) days.




                                           BY THIS COURT:

                                            /s/ MICHAEL M. BAYLSON
                                           ______________________________
                                           MICHAEL M. BAYLSON
                                           United States District Court Judge
